                                                                  ORDER: Motion GRANTED.



                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
v.                                                    Case No. 2:19-cr-00010
                                                      District Judge William L. Campbell, Jr.
GILBERT R. GHEARING,

            Defendant.
______________________________________________________________________________

     MOTION FOR EXTENSION OF TIME TO FILE A MOTION FOR A NEW TRIAL


        COMES NOW, Defendant, Gilbert Ghearing, M.D. (“Dr. Ghearing”), by and through his

undersigned counsel, Ronald W. Chapman II, and Meggan B. Sullivan, hereby files this Motion

For Extension of Time to File a Motion for a New Trial. In support thereof, Dr. Ghearing states as

follows:

        1. Dr. Ghearing was charged with Health Care Fraud in violation of 18 U.S.C. § 1347,

           Distribution of Controlled Substances in violation of 21 U.S.C. § 841(a)(1), schedule

           II and IV, Obstruction of the Due Administration of Justice in violation of 18 U.S.C. §

           1503, and Destruction, Alteration, or Falsification of Records in Federal Investigations

           in violation of 18 U.S.C. § 1519 in a Superseding Indictment filed on October 17, 2022.

        2. Trial commenced on February 14, 2023, and it lasted six (6) weeks; with the jury

           returning its verdict on March 28, 2023.

        3. The jury verdict found Dr. Ghearing guilty on Counts 1s-6s, 9s-10s, 12s-14s, 17s-33s,

           35s, 43s, 45s-46s, 48s, 50s-55s, 57s-59s, 61s-63s, and acquitted Dr. Ghearing on

           Counts 7s-8s, 11s, 15s-16s, 34s, 36s-42s, 44s, 47s, 49s, 56s, 60s.




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